 

In re LESLEY P. CAMPBELL

LESLEY P. CAMPBELL,

CaS€ 1-15-01038-0€0 ' DOC 1 Filed 03/09/15 Entered 03/09/15 10253218

UNITED STATE BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

/X.J

Case No.: l-l4-45990

 

Debtor
Chapter 7

Plaintiff,

Adv. Proc. No.

CITIBANK, N.A., THE STUDENT LOAN
CORPORATION, and CITIBANK, N.A.
THE STUDENT LOAN CORPORATION,

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-against- )
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Defendants.

COMPLAINT IN AN ADVERSARY PROCEEDING

 

Jurisdiction

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This is an action under the Federal Rules of Banl<ruptcy Procedure Rule 7001, subsection 6,
entitled “a proceeding to determine the dischargeability of a deb .”

The Court’s jurisdiction over this adversary proceeding is derived from its jurisdiction over
the property of the above-named debtor in the underlying bankruptcy proceeding, Case
Number 1-14-45990, pursuant to ll U.S.C. Sections 105 and 727, and pursuant to 28 U.S.C.
Section 157.

The plaintiff, LESLEY P. CAMPBELL, is the debtor in the underlying bankruptcy
proceeding, and resides at 301 Sullivan Place, Apartlnent 3S, Brooklyn, County of Kings,
State of New York.

The defendant, CITIBANK, N.A., is a creditor, and has a principal place of business at 701
E. 60'h street sioux Faus, sD 57104.

The defendant, CITIBANK, N.A., has a principal place of business in Sioux Falls, SD.

 

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6. The defendant, THE STUDENT LOAN CORPORATION, is a creditor, and has a principal
place of business at 701 E. 60th Street, Sioux Falls, SD 57104.

7. The defendant, THE STUDENT LOAN CORPORATION, has a principal place of business

` in sioux Faus, sD.

8. The defendant, THE STUDENT LOAN CORPORATION, has a principal place of business
in Des Moines, IA.

9. The defendant, THE STUDENT LOAN CORPORATION, has a principal place of business
The Lakes, NV.

10. The defendant, CITIBANK, N.A. THE STUDENT LOAN CORPORATION, is a creditor,
and has a principal place of business at 701 E. 60th Street, Sioux Falls, SD 57104.

ll.'The defendant, CITIBANK, N.A. THE STUDENT LOAN CORPORATION, has a principal
place of business in Sioux Falls, SD.

12. The defendant, CITIBANK, N.A. THE STUDENT LOAN CORPORATION, has a principal
place of business in Des Moines, IA.

13. The defendant, CITIBANK, N.A. THE STUDENT LOAN CORPORATION, has a principal
place of business The Lakes, NV.

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14. All above paragraphs relevant hereto are incorporated herein by reference.

15. In or about February, 2009, the defendant, CITIBANK, N.A., loaned $15,900.00 to the
plaintiff, (hereinafter the “Loan”).

16. In or about February, 2009, the defendant, THE STUDENT LOAN CORPORATION, loaned

$15,900.00 to the plaintiff, (hereinafter the “Loan”).

 

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In or about February, 2009, the defendant, CITIBANK, N.A. THE STUDENT LOAN
CORPORATION, loaned $15,900.00 to the plaintiff, (hereinafter the “Loan”).

The loan was originated and held by the defendant, CITIBANK, N.A., as trustee for the
defendant, THE STUDENT LOAN CORPORATION.

The loan was originated and held by the defendant, CITIBANK, N.A., as trustee for the
defendant, CITIBANK, N.A. THE STUDENT LOAN C_l)RPORATION.

The loan was originated by the defendant, CITIBANK, N.A., and assigned to the defendant,
THE STUDENT LOAN CORPORATION.

The loan was originated by the defendant, CITIBANK, N.A., and assigned to the defendant,
CITIBANK, N.A. THE STUDENT LOAN CORPORATION.

The defendants have identified the Loan type as “CitiAssist Bar Exam Loan”.

The Loan was incurred by the plaintiff to pay for a bar study course to study and prepare for
the New York State Bar Examination, and for other expenses incurred during the period of
time plaintiff prepared for the bar examination

The Loan is not a “Student Loan” as such is' defined by Section 523(a)(8) of the United
States Bankruptcy Code.

The Loan was not made under a government or nonprofit student loan program.

The Loan is not a qualified educational loan under section 221(d)(1) of the Internal Revenue
Code, for attending an eligible education institution as defined in section 221(d)(2) of the
Internal Revenue Code.

The Loan was not incurred for costs of attendance as defined in section 472 of the Higher
Education Act.

The Loan was not educational in nature.

 

 

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29. Institutions that provide Bar preparation courses, (such as BARBRI), are not eligible
education institutions within the meaning of 26 U.S.C.A. 221(d)(l) and (2).

WHEREFORE, plaintiff demands judgment against the defendant herein:
a. Determining that the Loan is a dischargeable debt; and

b. Such other relief that the court deems just and proper.

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